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 8                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 9                                         AT SEATTLE

10

11      IN RE: PACIFIC MARKET                                CASE NO. 2:24-cv-00191-TL
        INTERNATIONAL, LLC, STANLEY
        TUMBLER LITIGATION
12                                                           ORDER ON MOTION TO DISMISS
13
        This Document Relates to: All Actions
14

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17          This is an action for damages and injunctive relief stemming from the use of lead in the

18   manufacture of the Stanley-brand drinkware and the manufacturer’s alleged failure to disclose the

19   presence of lead in those products. This matter is before the Court on Defendant Pacific Market

20   International, LLC’s Motion to Dismiss. Dkt. No. 51. Having reviewed Plaintiffs’ response (Dkt.

21   No. 56), Defendant’s reply (Dkt. No. 58), and the relevant record, and finding oral argument

22   unnecessary, see LCR 7(b)(4), the Court GRANTS the motion with limited leave to amend.

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 1                                                I.       BACKGROUND

 2   A.       The Parties

 3            Plaintiffs are six residents of various states (Nevada, New York, California, and

 4   Washington) who purchased a “Stanley cup” 1 for personal, family, or household use at various

 5   times between 2021 and 2023. See Dkt. No. 48 ¶¶ 3–8. All Plaintiffs bought cups “to safely store

 6   and drink liquids without fear of exposure to toxins.” Id. Most Plaintiffs bought them “on a

 7   reasonable assumption” that using the cup “could not expose” them to lead. Id. ¶¶ 3–6, 8. Two

 8   Plaintiffs “saw materials describing [the Stanley cups’] characteristics” before purchase. Id. ¶¶ 4,

 9   6. All Plaintiffs would not have bought the cups had they know they contained lead. Id. ¶ 9. All

10   Plaintiffs have stopped using the cups for fear of lead exposure. Id. Most Plaintiffs “would

11   consider repurchasing the cups “if they were sold with a revised design that did not include using

12   lead.” Id. ¶ 10.

13            Defendant Pacific Market International, Inc. (“PMI”) is a Washington limited liability

14   company with its principal place of business in Seattle, Washington. Id. ¶ 11. Defendant

15   advertises and sells its products throughout the United States directly to consumers and through

16   intermediaries. Id.

17   B.       Defendant’s Marketing and Representations

18            Defendant markets its Stanley cups as safe, practical drinkware. Id. ¶ 12. On the “Care

19   and Use” insert packaged with its cups, Defendant warrants that its products, including the

20   Stanley cups, are “free from any defect in workmanship or materials and to be thermally efficient

21   provided used according to the instructions.” Id. ¶ 15 (including photo of insert). Defendant

22

23   1
      In the Consolidated Class Action Complaint, Plaintiffs use “Stanley cups” to refer to “[Defendant]-made drinkware
     or related products that include lead as part of their design or manufacture.” Dkt. No. 48 at 1 n.1. Accordingly, the
24   Court will use the term to represent the same.



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 1   represents that it uses “recycled stainless steel” and advertised the cups as “BPA-free.” Id. ¶ 16

 2   (quoting The Quencher H2.0 Flowstate Tumbler | 40 Oz, Stanley 1913, https://www.stanley1913.com/

 3   products/adventure-quencher-travel-tumbler-40-oz?variant=4456001001894 [https://perma.cc/V384-

 4   33TX] (last accessed Dec. 26, 2024)); see also id. ¶ 15 (including photo of advertisement).

 5   Defendant represents that its cups “are subject to tests ensuring that its products comply with

 6   ‘strict guidelines, including but not limited to BPA/BPS, PFOS, and phthalate regulatory

 7   requirements.’” Id. ¶ 17 (quoting Do Stanley Products Contain Lead?, Stanley 1913,

 8   https://support.stanley1913.com/en/support/solutions/articles/69000850923-do-stanley-products-

 9   contain-lead- [https://perma.cc/V4GK-BUU6] (last accessed Dec. 26, 2024)); see also id. ¶ 18

10   (including photo of statement). Such representations led consumers (including Plaintiffs) to

11   “reasonably but mistakenly believe that [Defendant] had disclosed all the materials that the

12   Stanley cups contained.” Id. ¶ 19.

13          Defendant’s marketing has also included paying social media influencers with large

14   followings to promote the Stanley cups, as well as a dedicated campaign to support its Adventure

15   Quencher Travel Tumbler, the success of which led to other Stanley cups with similar designs.

16   See id. ¶¶ 21–22. None of Defendant’s social media marketing disclosed the presence of lead. Id.

17   ¶ 21. Defendant also markets its products as “safe, fashionable choices for conscientious

18   consumers.” Id. ¶ 42. It “routinely promotes images of families holding Stanley cups on its social

19   media pages and advertisements.” Id. ¶ 44.

20          According to Defendant’s public statements, its annual sales of Stanley products grew

21   from $70 million in previous years to over $750 million in 2023. Id. ¶ 23.

22   C.     Use of Lead in Stanley Cups

23          In late January 2024, Defendant’s use of lead in the Stanley cups was made public

24   through news of third-party investigations. Id. ¶ 24; see also id. ¶ 37. Defendant “admitted to


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 1   using lead in the design and manufacturing of Stanley cups and that consumers could be exposed

 2   to the lead if a Stanley cup is damaged.” Id. ¶ 24; see also id. ¶ 38. Specifically, at that time,

 3   Defendant offered the following explanation:

 4                  Do Stanley products contain lead?

 5                  At Stanley, one of the key features of our products is our vacuum
                    insulation technology, which provides consumers with drinkware
 6                  that keeps beverages at the ideal temperature. Our manufacturing
                    process currently employs the use of an industry standard pellet to
 7                  seal the vacuum insulation at the base of our products; the sealing
                    material includes some lead. Once sealed, this area is covered with
 8                  a durable stainless steel layer, making it inaccessible to consumers.
                    Rest assured that no lead is present on the surface of any Stanley
 9                  product that comes into contact with the consumer nor the contents
                    of the product. In the rare occurrence the base cap of a product
10                  comes off due to ordinary use and exposes this seal, it is eligible
                    for our Lifetime Warranty, available here:
11                  https://www.stanley1913.com/pages/contact-warranty

12   Id. ¶ 32 (boldface in original). Defendant continues to sell its Stanley cups without change to its

13   manufacturing or marketing practices. Id. ¶¶ 24, 34, 50. Defendant has not contacted purchasers

14   of the Stanley cups to inform them of the presence of lead. Id. ¶ 49. Defendant has also not

15   offered refunds or other compensation. Id.

16          “Lead is a toxin that is unsafe in any amount and can cause lifelong harm.” Id. ¶ 29.

17   When touched, swallowed, or inhaled, it can cause “severe developmental problems in children

18   that lead to lifelong adverse health effects.” Id. It is also unsafe for adults and can cause adverse

19   health effects for them as well. See id. “Several experts have said that [Defendant’s] use of lead

20   in Stanley cups is alarming and unnecessary.” Id. ¶ 39. “One research director stated, ‘[I]f that

21   bottom seal comes off, all bets are off. . . . Lead is so toxic you just can’t take chances with it.’”

22   Id. “A ‘broken seal may not always be obvious,’ and a child who fidgets with a broken cup faces

23   ‘a very possible and likely transference of microparticulate lead via normal hand-to-mouth

24   behavior in young children.’” Id. Defendant claims that using lead to seal insulation is the


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 1   “industry standard,” but other manufacturers use different processes that do not require using

 2   lead or other toxins. Id. ¶ 40.

 3   D.      Procedural History

 4           This matter began as three proposed class actions. See Dkt. No. 1 (complaint in Franzetti

 5   v. Pac. Mkt. Int’l, LLC, filed Feb. 12, 2024); Krohn v. Pac. Mkt. Int’l, LLC, No. C24-200, Dkt.

 6   No. 1 (W.D. Wash. Feb. 14, 2024) (complaint); Barbu v. Pac. Mkt. Int’l, LLC, No. C24-258,

 7   Dkt. No. 1 (W.D. Wash. Feb. 24, 2024) (complaint). On April 26, 2024, these cases were

 8   consolidated. Dkt. No. 31. On May 16, a related case was also consolidated with these cases.

 9   Dkt. No. 42; see Brown v. Pac. Mkt. Int’l, No. C24-635, Dkt. No. 1 (W.D. Wash. Mar. 4, 2024)

10   (notice of removal). The same day, interim class counsel was appointed. Dkt. No. 43.

11           On June 18, Plaintiffs filed the Consolidated Class Action Complaint (“CAC”). Dkt.

12   No. 48. Plaintiffs seek a permanent injunction requiring Defendant to disclose any lead and other

13   toxins at the point of sale, on packaging, and in advertisements; to perform a corrective

14   advertising campaign informing consumers that the cups contain lead; to warn consumers to stop

15   using the cups if they are damaged; and to stop using a cup design that includes lead. Id. ¶ 51.

16   Plaintiffs also seek compensatory and statutory damages refunding consumers for all amounts

17   paid for the Stanley cups, as well as punitive damages for Defendant’s “deliberate concealment”

18   of its use of lead and that chance that a damaged cup could expose consumers to lead. Id.

19   Plaintiffs seek to represent a nationwide class as well as subclasses from Washington, Nevada,

20   New York, and California. Id. ¶ 52.

21           Defendant now brings the instant motion to dismiss the CAC. Dkt. No. 51; see also Dkt.

22   No. 58 (reply). Plaintiffs oppose. Dkt. No. 56. Defendant has also moved to strike Plaintiffs’

23   nationwide class allegations, which Plaintiffs oppose. Dkt. Nos. 52, 55, 59.

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 1                                        II.     LEGAL STANDARD

 2          A defendant may seek dismissal when a plaintiff fails to state a claim upon which relief

 3   can be granted. Fed. R. Civ. P. 12(b)(6). In reviewing a Rule 12(b)(6) motion to dismiss, the

 4   Court takes all well-pleaded factual allegations as true and considers whether the complaint

 5   “state[s] a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678

 6   (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). While “[t]hreadbare

 7   recitals of the elements of a cause of action, supported by mere conclusory statements,” are

 8   insufficient, a claim has “facial plausibility” when the party seeking relief “pleads factual content

 9   that allows the court to draw the reasonable inference that the defendant is liable for the

10   misconduct alleged.” Iqbal, 556 U.S. at 672. “When reviewing a dismissal pursuant to

11   Rule . . . 12(b)(6), ‘we accept as true all facts alleged in the complaint and construe them in the

12   light most favorable to plaintiff[ ], the non-moving party.’” DaVinci Aircraft, Inc. v. United

13   States, 926 F.3d 1117, 1122 (9th Cir. 2019) (alteration in original) (quoting Snyder & Assocs.

14   Acquisitions LLC v. United States, 859 F.3d 1152, 1156–57 (9th Cir. 2017)).

15          A defendant may also seek dismissal when a plaintiff fails to plead “with particularity the

16   circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b); see Vess v. Ciba-Geigy Corp.

17   USA, 317 F.3d 1097, 1107 (9th Cir. 2003) (deeming a motion to dismiss under Rule 9(b) “the

18   functional equivalent” of a motion to dismiss under Rule 12(b)(6) and thus treating dismissal

19   under both rules “in the same manner”). Under Rule 9(b), a plaintiff must normally plead “‘the

20   who, what, when, where, and how’ of the misconduct charged.” Kearns v. Ford Motor Co., 567

21   F.3d 1120, 1124 (9th Cir. 2009) (quoting Vess, 317 F.3d at 1106)). Where claims are grounded in

22   fraud, a plaintiff also must identify “what is false or misleading about the purportedly fraudulent

23   statement, and why it is false.” Davidson v. Sprout Foods, Inc., 106 F.4th 842, 852 (9th Cir.

24


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 1   2024) (quoting Cafasso, U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1055 (9th

 2   Cir. 2011)).

 3             Finally, the Rule 9(b) standard “is relaxed in fraudulent omission cases.” Short v.

 4   Hyundai Motor Co., 444 F. Supp. 3d 1267, 1279 (W.D. Wash. 2020). “In such cases, a plaintiff

 5   ‘will not be able to specify the time, place, and specific content of an omission as precisely as

 6   would a plaintiff in a false representation claim.’” Id. (quoting Falk v Gen. Motors Corp., 496 F.

 7   Supp. 2d 1088, 1098–99 (N.D. Cal. 2007)). “Nonetheless, a plaintiff pleading fraudulent

 8   omission or concealment must still plead the claim with particularity.” Id. (quoting Ashgari v.

 9   Volkswagen Grp. of Am., Inc., 42 F. Supp. 3d 1306, 1325 (C.D. Cal. 2013)).

10                                            III.    DISCUSSION

11             In the CAC, Plaintiffs allege 12 causes of action. See Dkt. No. 48 ¶¶ 63–184. As an initial

12   matter, Plaintiffs have voluntarily dismissed without prejudice their fifth cause of action, brought

13   under the Magnuson-Moss Warranty Act. See Dkt. No. 57. The Court will analyze the remaining

14   claims.

15   A.        Washington Consumer Protection Act (“WCPA”)

16             Plaintiffs bring a claim under the WCPA. See Dkt. No. 48 ¶¶ 63–76 (First Cause of

17   Action). To plead a claim under the WCPA, a plaintiff must allege “(1) an unfair or deceptive act

18   or practice, (2) occurring in trade or commerce, (3) affecting the public interest, (4) injury to a

19   person’s business or property, and (5) causation.” Panag v. Farmers Ins. Co. of Wash., 166

20   Wn.2d 27, 37, 204 P.3d 885 (2009) (citing Hangman Ridge Stables, Inc. v. Safeco Title Ins. Co.,

21   105 Wn.2d 778, 784, 719 P.2d 531 (1986)); accord Greenberg v. Amazon.com, Inc., 3 Wn.3d

22   434, 453, 553 P.3d 626 (2024). “A plaintiff need not show the act in question was intended to

23   deceive, only that it had the capacity to deceive a substantial portion of the public.” Young v.

24   Toyota Motor Sales USA, 196 Wn.2d 310, 318, 472 P.3d 990 (2020) (quoting Panag, 166 Wn.2d


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 1   at 47). “Deception exists if there is a representation, omission or practice that is likely to mislead

 2   a reasonable consumer.” Young, 196 Wn.2d at 318 (quoting Panag, 166 Wn.2d at 50) (internal

 3   quotation marks omitted). “An accurate communication can still be deceptive.” Eng v.

 4   Specialized Loan Servicing, 20 Wn. App. 2d 435, 446, 500 P.3d 171 (2021) (citing Panag, 166

 5   Wn.2d at 50). Finally, whether an act is unfair or deceptive may be decided on a motion to

 6   dismiss. See Greenberg, 3 Wn.3d at 475 (“[T]he facts at the dismissal stage are not in dispute,

 7   which in turn permits an issue to be decided as a question of law.”).

 8            Defendant argues that the WCPA claim fails because Plaintiffs do not allege that the

 9   failure to disclose the presence of lead, and that the lead may be “exposed” if the cup is

10   damaged, is material. 2 See Dkt. No. 51 at 20–23. Specifically, Defendant argues that “[w]ith no

11   factual allegations showing that the lead in Stanley cups causes harm, there is no reason to

12   believe that the alleged nondisclosure of lead would be clearly important to a reasonable person

13   in deciding whether to buy a Stanley cup.” Id. at 21 (emphasis in original). Defendant relatedly

14   argues that the claim fails under Rule 9(b), because Plaintiffs’ allegations of harm are not

15   specific to Defendant’s products. See id. at 22–23. In response, Plaintiffs argue that they

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17   2
       Defendant’s argument is premised on the idea that in WCPA omission cases, it is necessary for a plaintiff to allege
     materiality. See Dkt. No. 51 at 20 (citing Lohr v. Nissan N. Am., Inc., No. C16-1023, 2022 WL 1449680, at *3
18   (W.D. Wash. May 9, 2022)). But in Young, the Washington Supreme Court squarely held that “materiality is not a
     necessary component of the first element” of a WCPA claim. 196 Wn.2d at 318. “While we have mentioned
19   materiality in passing, generally noting that a deceptive framing or omitted fact was sufficiently material to establish
     the element,” the court explained, “we have never found materiality was necessary as a matter of law.” Id. (emphasis
     added). “We specifically reject that proposition now.” Id.
20
     Instead, Washington courts appear to hold that “a plaintiff alleges a deceptive act when their complaint claims the
     defendant knowingly failed ‘to reveal something of material importance’”—in other words, that such allegations are
21   sufficient, but not necessary. Eng, 20 Wn. App. 2d at 445 (quoting Deegan v. Windermere Real Estate/Center-Isle,
     Inc., 197 Wn. App. 875, 885, 391 P.3d 582 (2017)) (internal quotation marks omitted); see also Thorley v. Nowlin,
22   29 Wn. App. 2d 610, 653, 542 P.3d 137 (2024) (“To sustain a CPA claim, we assume that the claimant must
     continue to show a representation of existing fact. Nevertheless, the fact need not be material to any transaction.”
23   (citing Young, 196 Wn.2d at 320)).
     Plaintiffs do not dispute that materiality is required; they argue instead that they have sufficiently alleged it. See Dkt.
24   No. 56 at 14–16. The Court will thus assess the claim as argued by the Parties.



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 1   sufficiently allege materiality because they would not have purchased the Stanley cups if

 2   Defendant had disclosed the use of lead. See Dkt. No. 56 at 14–16. Notably, Plaintiffs assert that

 3   “specific lead levels and physical harm are not at issue.” Id. at 15. Plaintiffs also argue that Rule

 4   9(b) does not apply, but that even if it does, the standard is satisfied. See id. at 16–17.

 5          As an initial matter, the Court finds that Rule 9(b) applies to Plaintiffs’ WCPA claim.

 6   Rule 9(b) applies to WCPA claims when they allege a specific intent to deceive or a “‘unified

 7   fraudulent course of conduct.’” REX – Real Est. Exch. Inc. v. Zillow Inc., No. C21-312, 2021

 8   WL 3930694, at *8 (W.D. Wash. Sept. 2, 2021) (quoting Vess, 317 F.3d at 1105). On the other

 9   hand, if “the core of plaintiff's complaint is that defendant's conduct has a ‘tendency’ or the

10   ‘capacity to deceive’ consumers,” then Rule 9(b) does not apply. Id. Here, as Defendant points

11   out (Dkt. No. 58 at 10–11), Plaintiffs allege that Defendant “deliberately concealed the use of

12   lead” (Dkt. No. 48 ¶ 41) and seek punitive damages for “deliberate concealment (id. ¶ 185).

13   Plaintiffs also allege, for example, that Defendant “systematically deceived consumers” by its

14   omission (id. ¶ 14), “kept customers in the dark” to avoid disrupting its successful sales (id.

15   ¶ 25), and “misled the public” by its omission (id. ¶ 31). Thus, Plaintiffs plainly allege both a

16   specific intent to deceive and a unified fraudulent course of conduct such that Rule 9(b) applies

17   to their WCPA claim. See Davidson, 106 F.4th at 852–53 (applying Rule 9(b) to California

18   consumer protection claims that product labels “misled consumers into believing the products

19   provided health benefits to children under two when the products were in fact nutritionally and

20   developmentally harmful”).

21          The Court finds that Plaintiffs have not sufficiently alleged a WCPA claim under Rule

22   9(b). In short, Plaintiffs have not sufficiently alleged that the omission was material, as they have

23   not shown sufficient harm from the specific amount of lead in the Stanley cups. See Davidson,

24   106 F.4th at 853 (where plaintiffs alleged economic harm, dismissing fraud-based claims under


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 1   Rule 9(b) because allegations of physical harm were “largely unspecific” to defendant’s

 2   products, lacked context, or were speculative). Contrary to Plaintiffs’ assertion, “specific lead

 3   levels and physical harm” are at issue—not because Plaintiffs allege physical harm (which they

 4   do not), and not because they need to allege actual consumption of or exposure to lead (which

 5   they do not), but because they allege that the use of lead was material due to the attendant risk of

 6   physical harm. See, e.g., Dkt. No. 48 ¶¶ 3–10, 26, 30–31, 36, 45. Thus, without sufficient

 7   allegations to show that the lead in the Stanley cups could pose actual harm to consumers, “the

 8   apparent need for disclosure is a moot proposition.” Wilson v. ColourPop Cosmetics, LLC,

 9   No. C22-5198, 2023 WL 6787986, at *5 (N.D. Cal. Sept. 7, 2023) (in context of Article III

10   standing, further observing that “Plaintiff’s claim for economic loss also necessarily relies on

11   establishing the Products she purchased have been deemed unsafe” and “this ‘loss of money’

12   requires a showing that the Products are actually harmful” (emphasis in original)).

13          Plaintiffs’ allegations about the harm posed by the lead in Stanley cups are mostly

14   captured in two paragraphs in the CAC. In the first paragraph, Plaintiffs allege, “Lead is a toxin

15   that is unsafe in any amount and can cause lifelong harm,” and they make other general

16   allegations about possible harms from lead exposure. Dkt. No. 48 ¶ 29. In the second paragraph,

17   Plaintiffs supply quotes from “[s]everal experts” who opined in the press on the news of lead in

18   Stanley cups. Id. ¶ 39; see also id. ¶¶ 24, 37.

19          But Plaintiffs’ allegations are insufficient to establish materiality under the WCPA or

20   particularity of harm under Rule 9(b). For example, the allegations about the possible effects of

21   lead exposure (id. ¶ 29) are completely disconnected from the Stanley cups, unrelated to any

22   specific amount of lead, or conclusory as to lead’s universal effects. Further, the allegations

23   regarding individuals who provided comments to the press (id. ¶¶ 24, 37, 39) are thin,

24


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 1   unsupported, and speculative. Upon a closer look, 3 they amount to much less than Plaintiffs

 2   make them out to be:

 3                     •        One news story cited in Paragraphs 24 and 39 (originally
                                posted on January 24, 2024, but updated later to include
 4                              reference to this lawsuit) includes a quote from Jack
                                Caravanos, doctor of public health and professor of
 5                              environmental public health sciences at New York
                                University’s School of Global Public Health, who says,
 6                              “[T]here really is practically zero risk of you ingesting any
                                of the lead that’s in this cup.” Daryl Austin, Do Stanley
 7                              cups contain lead? What to know about the lawsuit and
                                potential exposure risk, TODAY (updated Feb. 22, 2024,
 8                              9:40 a.m. PST), https://www.today.com/health/news/stanley-
                                cups-lead-rcna135513 [https://perma.cc/3SAP-WV3T] (last
 9                              visited Jan. 14, 2025).

10                              The story also includes a statement from a spokesperson
                                from the U.S. Centers for Disease Control and Prevention
11                              (“CDC”), which addresses the use of lead in manufacturing
                                in general, not the presence of lead in Stanley cups.
12
                       •        Another news story cited in Paragraphs 37 and 39 quotes
13                              Jane Houlihan, research director for Healthy Babies, Bright
                                Futures, an alliance of nonprofits. See Madeline
14                              Holocombe & Sandy LaMotte, Stanley and other drink
                                cups contain lead. Should you be worried? CNN (Jan. 26,
15                              2024, 4:27 p.m. EST), https://www.cnn.com/2024/01/26/
                                health/stanley-cups-lead-wellness/index.html
16                              [https://perma.cc/TUA2-EU6V] (last accessed Jan. 14,
                                2025). In the CAC, Plaintiffs quote Houlihan’s remark that
17                              “if that bottom seal comes off, all bets are off . . . . Lead is
                                so toxic you just can’t take chances with it,” but Houlihan
18                              also states that “[i]f the cup stays intact, there’s likely no
                                lead exposure risk for consumers.”
19

20
     3
       Although the Parties do not raise the issue, the Court notes that it may consider the articles, as they are
21   incorporated by reference in the CAC. See Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005) (holding
     incorporation by reference applies where “plaintiff’s claim depends on the contents of a document, the defendant
22   attaches the document to its motion to dismiss, and the parties do not dispute the authenticity of the document, even
     though the plaintiff does not explicitly allege the contents of that document in the complaint”); see also In re
     Amazon Serv. Fee Litig., 705 F. Supp. 3d 1255, 1261 n.1 (W.D. Wash. 2023) (incorporating online articles by
23   reference). The articles, and the experts quoted therein, are critical to Plaintiffs’ allegations of harm from lead.
     Moreover, Defendant cites two of Plaintiff’s articles (Dkt. No. 51 at 15 n.4–5) and does not dispute the authenticity
24   of any article.



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 1                          The story also includes statements from the CDC and the
                            U.S. Consumer Product and Safety Commission that
 2                          address the general risks of lead exposure, not the presence
                            of lead in Stanley cups.
 3
                    •       Another news story cited in Paragraph 39 includes quotes
 4                          from multiple individuals. See Julia Ries, Stanley Tumblers
                            Contain Lead – And So Do Other Reusable Cups. Here’s
 5                          The Truth About Their Safety., HUFFPOST (Jan. 30, 2024,
                            1:23 p.m. EST), https://www.huffpost.com/entry/stanley-
 6                          reusable-water-cup-lead_l_65b925abe4b01c5c3a383bfb
                            [https://perma.cc/X3P3-WFRY] (last accessed Jan. 14,
 7                          2025).

 8                          Dr. Andrew Monte, a professor of emergency medicine and
                            medical toxicology with the University of Colorado
 9                          Anschutz Medical Center, says, “The risk of these cups is
                            infinitesimally small.” He goes on, “People do not have to
10                          be concerned about using these products, though if the cup
                            is severely damaged and the lead is accessible, throw it
11                          out.” The story continues: “According to Monte, the cup
                            would have to be incredibly damaged for its lead plug to
12                          pop out of the drinking canister. ‘This type of damage
                            would have to be so severe that the canister wouldn’t hold
13                          liquid anymore, so this doesn’t represent a realistic
                            possibility,’ Monte said.”
14
                            The story reports that Prof. Caravanos “personally tested a
15                          few Stanley tumbler with an X-ray fluorescence instrument
                            that can detect various metals, and didn’t find any lead.
16                          This suggests that the metal is buried deep within the cup,
                            he said.” Later, the story reports that “according to
17                          Caravanos, you probably don’t need to toss out your
                            reusable tumbler. ‘It’s a manageable risk,’ he said, adding
18                          that the cups don’t present a serious public health threat.’”

19                          In the CAC, Plaintiffs quote Dr. Maryann Amirshahi, a co-
                            medical director of the National Capital Poison Center,
20                          stating that a “broken seal may not always be obvious.” But
                            Dr. Amirshahi’s comment addresses products in general
21                          that contain lead, not the Stanley cups in particular.

22                          The story also includes general comments about the
                            dangers of lead that are not specific to the Stanley cups or
23                          Defendant.

24


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 1   Without additional factual support that demonstrates a specific and plausible risk of harm from

 2   the lead in Stanley cups, the mere presence of lead could not be material to a reasonable

 3   consumer. See Balistreri v. McCormick & Co., No. C22-349, 2023 WL 5988600, at *11 (N.D.

 4   Cal. Sept. 13, 2023) (in analyzing California claim under implied warranty of merchantability,

 5   finding “Plaintiffs’ assertion that any product containing Heavy Metals is unsafe for human

 6   consumption to be a conclusory statement unsupported by facts alleged in the Complaint”). As

 7   Defendants argue (see Dkt. No. 51 at 22), allowing these allegations to survive a motion to

 8   dismiss would green-light all kinds of lawsuits based merely on the presence of a material that,

 9   in some unspecified amount, could be harmful. Cf. Weaver v. Champion Petfoods USA Inc.,

10   No. 18-1996, 2019 WL 2774139, at *3 (E.D. Wis. July 1, 2019) (in analyzing claim under

11   Wisconsin Deceptive Trade Practices Act, finding “the mere presence of heavy metals”

12   insufficient to support claim of fraudulent representation). However, Plaintiffs may be able to

13   cure these deficiencies with amendment.

14          Therefore, as to the First Cause of Action (WCPA), Defendant’s motion is GRANTED with

15   leave to amend.

16   B.     Washington Product Liability Act (“WPLA”)

17          Plaintiffs bring a claim under the WPLA for a design defect. See Dkt. No. 48 ¶¶ 77–88

18   (Second Cause of Action). “[T]he WPLA creates a single cause of action for product-related

19   harms that supplants previously existing common law remedies.” Wash. Water Power Co. v.

20   Graybar Elec. Co., 112 Wn.2d 847, 860, 774 P.2d 1199 (1989). A plaintiff may sue under the

21   WPLA for “any claim or action brought for harm caused by the manufacture, production,

22   making, construction, fabrication, design, formula, preparation, assembly, installation, testing,

23   warnings, instructions, marketing, packaging, storage or labeling of the relevant product.”

24   RCW 7.72.010(4). A product manufacturer is liable under the WPLA if, among other things,


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 1   “the product was not reasonably safe as designed.” RCW 7.72.030(1). “A product is not

 2   reasonably safe as designed, if, at the time of manufacture, the likelihood that the product would

 3   cause the claimant’s harm or similar harms, and the seriousness of those harms, outweighed the

 4   burden on the manufacturer to design a product that would have prevented those harms and the

 5   adverse effect that an alternative design that was practical and feasible would have on the

 6   usefulness of the product.” RCW 7.72.030(1)(a).

 7           However, “harm” does not include “direct or consequential economic loss.” RCW

 8   7.72.010(6). “The WPLA confines recovery to physical harm of persons and property and leaves

 9   economic loss, standing alone, to the Uniform Commercial Code.” Touchet Valley Grain

10   Growers, Inc. v. Opp & Seibold Gen. Const., Inc., 119 Wn.2d 334, 351, 831 P.2d 724 (1992).

11   “The economic loss exclusion ‘marks the boundary between the law of contracts—designed to

12   enforce expectations created by agreement—and the law of torts—designed to protect citizens

13   and their property by imposing a duty of reasonable care on others.’” King County v. Viracon,

14   Inc., No. C19-508, 2019 WL 12043501, at *3 (W.D. Wash. Dec. 4, 2019) (quoting Hofstee v.

15   Dow, 109 Wn. App. 537, 543, 36 P.3d 1073 (2001)). “Particular damages may be remediable in

16   tort as well as in contract, but if the damages fall on the contract side of the line and more properly

17   remediable in contract, tort recovery is precluded.” Id. (quoting Hofstee, 109 Wn. App. at 543).

18           Defendant argues that the WPLA claim fails for the same reason that the WCPA claim

19   fails: Plaintiffs do not sufficiently allege that the Stanley cups were “not reasonably safe for their

20   intended use.” Dkt. No. 51 at 23. Defendant also argues that the claim fails for the independent

21   reason that the WPLA excludes pure economic loss, and Plaintiffs only allege economic loss. See

22   id. at 24. In response, Plaintiffs argue that they clearly allege the cups pose a safety risk (see Dkt.

23   No. 56 at 17), and that the WPLA can encompass economic damages of the kind they allege (see

24   id. at 17–18).


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 1          As an initial matter, the Court finds that Plaintiffs have not sufficiently alleged a WPLA

 2   claim because as discussed above, see supra Section III.A, Plaintiffs do not sufficiently allege

 3   physical harm from the lead in the Stanley cups. Indeed, Defendant’s argument is perhaps even

 4   stronger under the WPLA, which explicitly weighs harm to claimants against the burden on the

 5   manufacturer and usefulness of the product. See RCW 7.72.030(1)(a). However, Plaintiffs may

 6   be able to cure these deficiencies with amendment.

 7          Further, Plaintiffs are correct that the WPLA may encompass certain kinds of facially

 8   “economic” damages. The Washington Supreme Court has explained that “a ‘risk of harm’

 9   analysis is the appropriate test for determining the nature of damages,” rejecting a bright-line

10   approach. Touchet Valley, 119 Wn.2d at 351 (citing Graybar, 112 Wn.2d 847). The court

11   identified two tests used by Washington courts to analyze the risk of harm: the “sudden and

12   dangerous test” and the “evaluative approach.” Id. at 351–52. But the court explicitly left open

13   “which approach to characterizing the risk of harm is preferable in this State.” Id. at 352.

14          Since Plaintiffs claim to satisfy the evaluative approach (see Dkt. No. 56 at 18) and

15   Defendant does not argue for the application of any particular test, the Court will “focus its

16   analysis” on Plaintiffs’ test. Viracon, 2019 WL 12043501, at *3. The evaluative approach

17   “proceeds on the theory that a product user should not have to suffer a calamitous event before

18   earning his remedy in tort.” Touchet Valley, 119 Wn.2d at 351 (citing Graybar, 112 Wn.2d at

19   866). Under this test, a court considers three factors in analyzing the risk of harm: “(1) the nature

20   of the defect; (2) the type of risk; and (3) the manner in which the injury arose.” Id. at 353. In

21   other words, a court examines “whether the defect was merely a failure to meet the expectations

22   under the contract or indicative of a hazardous product requiring the protection of tort law”;

23   “whether the risk was significant and whether it was foreseeable”; and “whether the injury arose

24   as the result of a calamitous and sudden event.” Hofstee, 109 Wn. App. at 545; see also Staton


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 1   Hills Winery Co., Ltd. v. Collons, 96 Wn. App. 590, 598–99, 980 P.3d 784 (1999) (applying the

 2   test); Nobl Park, LLC of Vancouver v. Shell Oil Co., 122 Wn. App. 838, 849, 95 P.3d 1265

 3   (2004) (same).

 4          The Court finds that Plaintiffs’ WPLA claim also fails as alleged because it fails the

 5   evaluative approach test and, therefore, is barred by the WPLA exclusion for economic loss. As

 6   explained above, Plaintiffs do not make sufficient allegations to show the Stanley cups are

 7   hazardous products requiring the protection of tort law or that the risk of harm is significant.

 8   Moreover, Plaintiffs do not currently allege that the harm is calamitous and sudden; indeed, the

 9   allegation that lead is exposed only after ordinary use suggests that the harm arises gradually, the

10   opposite of a sudden event. See Viracon, 2019 WL 12043501, at *4. However, Plaintiffs may be

11   able to cure these deficiencies with amendment as well.

12          Therefore, as to the Second Cause of Action (WPLA), Defendant’s motion is GRANTED

13   with leave to amend.

14   C.     Breach of Express Warranty

15          Plaintiffs bring a claim for breach of express warranty under Washington law. See Dkt.

16   No. 48 ¶¶ 89–98 (Third Cause of Action). “RCW 62A.2–313 defines express warranties as

17   (1) ‘[a]ny affirmation of fact or promise’, (2) ‘[a]ny description’ or (3) ‘[a]ny sample or model’

18   by a seller relating to or describing the goods, when such representation forms the ‘basis of the

19   bargain’.” Touchet Valley, 119 Wn.2d at 348 (quoting RCW 62A.2–313(1)(a)–(c)). Where a

20   manufacturer makes express representations, a plaintiff is not required to show reliance on the

21   representations, but “he or she must at least be aware of such representations to recover for their

22   breach.” Baugh v. Honda Motor Co., Ltd., 107 Wn.2d 127, 152, 727 P.2d 655 (1986). “[U]pon

23   proof of the affirmation of fact or promise and the buyer’s purchase of the goods, it is then

24   presumed that the buyer purchased the goods at least partially as a result of the affirmation or


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 1   promise, leaving it to the seller to show that this was not the case.” Poole v. Benjamin Moore &

 2   Co., Inc., No. C18-5168, 2018 WL 2716806, at *2 (W.D. Wash. June 6, 2018) (quoting 18

 3   Williston on Contracts § 52:49 (4th ed.)) (boldface and emphases in original).

 4          Defendants argue that there are no allegations that Plaintiffs were aware of any express

 5   warranty (see Dkt. No. 51 at 24); no allegations that the Stanley cups were not “safe and

 6   durable” (see id. at 25); no allegations that Defendant made the alleged warranty (see id.); and, to

 7   the extent that the claim relies on the warranty that the cups are “free from any defect in

 8   workmanship or materials,” the allegations are insufficient to show a breach (see id. at 25–26). In

 9   response, Plaintiffs argue that they allege awareness of a warranty (see Dkt. No. 56 at 19) and the

10   existence of a warranty (see id.), and that they sufficiently allege breach of a “safe and durable”

11   warranty (see id. at 20).

12          The Court finds that Plaintiffs have not sufficiently alleged a breach of express warranty.

13   First, Plaintiffs do not allege awareness of any specific representations, let alone representations

14   that amount to express warranties. At best, two Plaintiffs “saw materials describing . . .

15   characteristics” of the Stanley cups (Dkt. No. 48 ¶¶ 4, 6), but Plaintiffs do not identify what these

16   materials are or what representations they contained.

17          Second, Plaintiffs have not alleged breach of an express warranty. Plaintiffs argue in their

18   response that Defendant “warranted to consumers that the Stanley cups were safe and durable”

19   (Dkt. No. 56 at 20 (citing Dkt. No. 48 ¶ 25)), but this allegation appears to be simply a

20   characterization of Defendant’s marketing; Plaintiffs do not allege that Defendant ever made this

21   specific representation. Plaintiffs do allege that Defendants expressly represented that the cups

22   are “free from any defect in workmanship or materials” (Dkt. No. 48 ¶ 15), but Plaintiffs do not

23   allege that the Stanley cups bore any defect in workmanship or materials. Such language is

24   understood by courts to warrant against manufacturing defects, not design defects as Plaintiffs


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 1   allege here. See Daniel v. Ford Motor Co., 806 F.3d 1217, 1224 (9th Cir. 2015) (applying

 2   California Commercial Code § 2313, which contains language identical to RCW 62A.2–313, and

 3   distinguishing an ambiguous express warranty from “materials and workmanship” warranty that

 4   covers only manufacturing defects).

 5          Therefore, as to the Third Cause of Action (breach of express warranty), Defendant’s

 6   motion is GRANTED with leave to amend.

 7   D.     Breach of Implied Warranty of Merchantability

 8          Plaintiffs bring a claim for breach of the implied warranty of merchantability. See Dkt.

 9   No. 48 ¶¶ 99–108 (Fourth Cause of Action).

10          “Unless excluded or modified, a warranty that goods are merchantable ‘is implied in a

11   contract for their sale,’ so long as the seller is a ‘merchant with respect to goods of that kind.’”

12   Tex Enters., Inc. v. Brockway Standard, Inc., 149 Wn.2d 204, 208, 66 P.3d 625 (2003) (quoting

13   RCW 62A.2–314(1)). “This implied warranty of merchantability assures that the goods ‘are fit

14   for the ordinary purposes for which such goods are used.’” Id. (quoting RCW 62A.2–314(2)(c)).

15   Moreover, “lack of privity has historically been a defense to claims of breach of warranty.” Id. at

16   209. However, “where a commercial plaintiff can show that it is the intended third-party

17   beneficiary of a contract between the manufacturer and its direct purchaser, recovery may be

18   available under a third-party beneficiary analysis.” Id. at 213–14 (citing Touchet Valley, 119

19   Wn.2d at 345–47). Washington courts “apply the ‘sum of the interaction’ test essentially to

20   determine whether the manufacturer was sufficiently involved in the transaction (including post-

21   sale) with the remote purchaser to warrant enforcement of an implied warranty.” Babb v. Regal

22   Marine Indus., Inc., 186 Wn. App. 1003, 2015 WL 786857, at *3 (2015). “Plaintiffs can

23   demonstrate they are third-party beneficiaries where a manufacturer knew a purchaser’s identity,

24   knew the purchaser’s purpose for purchasing the manufacturer’s product, knew a purchaser’s


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 1   requirements for the product, delivered the product, and/or attempted repairs of the product in

 2   question.” Lohr v. Nissan N. Am., Inc., No. C16-1023, 2017 WL 1037555, at *7 (W.D. Wash.

 3   Mar. 17, 2017).

 4          Defendant argues that Plaintiffs fail to allege privity of contract between them and

 5   Defendant (see Dkt. No. 51 at 26–27) and fail to allege that the Stanley cups are not fit for

 6   ordinary use or that they do not conform to Defendant’s representations and warranties (see id. at

 7   27–28). In response, Plaintiffs argue only that consumers were indeed the intended third-party

 8   beneficiaries. See Dkt. No. 56 at 20–21. Plaintiffs do not respond to Defendant’s argument about

 9   fitness for ordinary use, which the Court may consider as an admission that the argument has

10   merit. See LCR 7(b)(2).

11          The Court finds that Plaintiffs have not sufficiently alleged a breach of the implied

12   warranty of merchantability because they do not (and cannot) allege privity with Defendant. See

13   Baughn v. Honda Motor Co., Ltd., 107 Wn.2d 127, 151, 727 P.2d 655 (1986) (barring implied

14   warranty action where plaintiff “sued the manufacturer rather than the dealer who sold him the

15   mini-bike”). Regarding the “sum of the interaction,” Plaintiffs’ allegations amount simply to

16   allegations about Defendant’s marketing or purported express warranties; there are no allegations

17   that Defendant knew Plaintiffs’ identity, purpose, or requirements, let alone that Defendant itself

18   delivered the product or attempted repairs. See Lohr, 2017 WL 1037555, at *7. This lack of

19   allegations contrasts with the allegations in cases where courts have found the plaintiffs were

20   third-party beneficiaries. See, e.g., Touchet Valley, 119 Wn.2d at 346–47 (finding that

21   manufacturer knew plaintiff’s identity, its purpose, and its requirements for grain storage

22   building; designed building knowing specifications were plaintiff’s; delivered components for

23   construction; and joined in attempted repairs). Ultimately, Plaintiffs supply no authority to

24   support the proposition that a manufacturer’s general marketing to consumers is sufficient to


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 1   establish contractual privity between a manufacturer and specific end-purchasers for the purpose

 2   of the implied warranty.

 3           Therefore, as to the Fourth Cause of Action (breach of implied warranty of

 4   merchantability), Defendant’s motion is GRANTED without leave to amend, as amendment would

 5   be futile.

 6   E.      California Unfair Competition Law (“UCL”)

 7           Plaintiffs Krohn, Brown, and Robinson bring a claim under all three prongs of the

 8   California UCL on behalf of themselves and the putative California subclass. See Dkt. No. 48

 9   ¶¶ 119–126 (Sixth Cause of Action).

10           “The UCL prohibits, and provides civil remedies for, unfair competition, which it defines

11   as ‘any unlawful, unfair or fraudulent business act or practice.’” Kwikset Corp. v. Superior Ct.,

12   246 P.3d 877, 883 (Cal. 2011) (quoting Cal. Bus. & Prof. Code § 17200). Private suits under the

13   UCL are “limited to any ‘person who has suffered injury in fact and has lost money or property’

14   as a result of unfair competition.” Id. at 884 (quoting Cal. Bus. & Prof. Code § 17204).

15           Defendant argues that Plaintiffs do not sufficiently allege a UCL claim for deceptive

16   statements (see Dkt. No. 51 at 29–30) or omissions (see id. at 30–33). In response, Plaintiffs

17   argue that they have sufficiently alleged claims under all three prongs of the UCL. See Dkt.

18   No. 56 at 21–24. The Court reviews each prong in turn.

19           1.     “Unlawful”

20           “A [UCL] action ‘to redress an unlawful business practice “borrows” violations of other

21   laws and treats [them] . . . as unlawful practices independently actionable.’” Doe v. CVS

22   Pharmacy, Inc., 982 F.3d 1204, 1214 (9th Cir. 2020) (quoting Farmers Ins. Exch. v. Superior

23   Ct., 826 P.2d 730, 734 (Cal. 1992)). “‘Unlawful’ practices under the UCL encompass ‘any

24   practices forbidden by law, be it civil or criminal, federal, state, or municipal, statutory,


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 1   regulatory, or court-made.’” Battle v. Taylor James, LLC, 607 F. Supp. 3d 1025, 1044 (C.D. Cal.

 2   2022) (quoting S. Bay Chevrolet v. Gen. Motors Acceptance Corp., 85 Cal. Rptr. 2d 301, 311

 3   (Cal. Ct. App. 1999)).

 4          For the basis of this theory, Plaintiffs mostly point to their other claims in this matter,

 5   including breaches of express and implied warranties (Dkt. No. 48 ¶¶ 89–108) and violations of

 6   the WCPA (id. ¶¶ 63–76), WPLA (id. ¶¶ 77–88), and California Consumer Legal Remedies Act

 7   (“CLRA”) (id. ¶¶ 127–136). See Dkt. No. 56 at 22. Thus, Plaintiffs’ theory mostly rises and falls

 8   with other claims.

 9          Plaintiffs also allege that Defendant violated the California False Advertising Law

10   (“FAL”), Cal. Bus. & Prof. Code §§ 17500–17509 (id. ¶¶ 121, 124), though they do not bring an

11   independent claim under that statute. The FAL makes it unlawful to make “any statement”

12   concerning real or personal property or services “which is untrue or misleading, and which is

13   known, or which by the exercise of reasonable care should be known, to be untrue or

14   misleading.” Cal. Bus. & Prof. Code § 17500.

15          For the reasons stated above, the Court finds that Plaintiffs have not sufficiently alleged a

16   UCL claim under the “unlawful” prong that is grounded in other claims in the CAC. See supra

17   Sections III.A–D. Further, Plaintiffs have not sufficiently stated a claim grounded in the FAL

18   because they not alleged awareness of any specific statements prior to purchase. However, these

19   deficiencies may be cured by amendment.

20          2.      “Unfair”

21          The Ninth Circuit has explained how to evaluate “unfair” practices under the UCL:

22                  [C]ourts consider either: (1) whether the challenged conduct is
                    tethered to any underlying constitutional, statutory or regulatory
23                  provision, or that it threatens an incipient violation of an antitrust
                    law, or violates the policy or spirit of an antitrust law [the
24                  “tethering” test]; (2) whether the practice is immoral, unethical,


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 1                  oppressive, unscrupulous or substantially injurious to consumers
                    [the “immoral” test]; or (3) whether the practice's impact on the
 2                  victim outweighs the reasons, justifications and motives of the
                    alleged wrongdoer [the “balancing” test].
 3
     Doe, 982 F.3d at 1214–15 (internal citations and quotation marks omitted).
 4
            Plaintiffs invoke the immoral and balancing tests to assert an omission theory, arguing
 5
     that “[Defendant’s] decision to conceal its use of a toxic metal in the manufacture of its Stanley
 6
     cups” is unfair because it is “substantially injurious to consumers,” and the impact outweighs
 7
     Defendant’s reasons for the omission. Dkt. No. 56 at 23; see also Dkt. No. 48 ¶ 123. Plaintiffs
 8
     also argue that whether a practice is “unfair” is a question of fact not appropriate for resolution
 9
     on this motion. See id. at 23–24.
10
            For the reasons stated above, see supra Sections III.A–B, the Court finds that Plaintiffs
11
     have not sufficiently alleged a UCL claim under the “unfair” prong. Plaintiffs do not include
12
     sufficient facts to support a finding that the presence of lead in Stanley cups in particular is
13
     harmful to consumers such that nondisclosure was “substantially injurious” or fails the balancing
14
     test. However, these deficiencies may be cured by amendment.
15
            3.      “Fraudulent”
16
            Plaintiffs argue that Defendant violated the “fraudulent” prong of the UCL by: “(1) false
17
     and misleading packaging and marketing; and (2) omitting that the cups contained lead, a toxic
18
     and lethal substance.” Dkt. No. 56 at 24 (citing Dkt. No. 48 ¶¶ 12–24, 122, 124). The Court
19
     considers each theory in turn.
20
                    a.      False and Misleading Statements
21
            The UCL fraudulent prong, like the FAL and the CLRA, “prohibit[s] not only advertising
22
     which is false, but also advertising which [,] although true, is either actually misleading or which
23
     has a capacity, likelihood or tendency to deceive or confuse the public.” Williams v. Gerber
24


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 1   Prods. Co., 552 F.3d 934, 938 (9th Cir. 2008) (quoting Kasky v. Nike, Inc., 45 P.3d 243, 250

 2   (Cal. 2002)) (internal quotation marks omitted).

 3          Defendant argues that Plaintiffs do not allege “any awareness whatsoever of any

 4   affirmative statement made by Defendant.” Dkt. No. 51 at 29. Defendant also argues that the

 5   claim fails under Rule 9(b) because Plaintiffs do not sufficiently allege the circumstances of the

 6   statements. See id. Finally, Defendant argues that Plaintiffs do not allege that any statements

 7   were false or misleading. See id. at 29–30. In response, Plaintiffs argue that the UCL prohibits

 8   misleading as well as false statements, and that they have alleged what those statements are and

 9   that they are misleading. See Dkt. No. 56 at 24; Dkt. No. 48 ¶ 122.

10          For similar reasons described above, see supra Section III.C, the Court finds that

11   Plaintiffs have not sufficiently alleged a fraudulent representation claim under the UCL

12   “fraudulent” prong, because they do not allege that Plaintiffs were aware of any particular

13   affirmative statements by Defendant. However, these deficiencies may be cured by amendment.

14                  b.      Omissions

15          “Omissions may be the basis of claims under California consumer protection laws, but ‘to

16   be actionable the omission must be contrary to a representation actually made by the defendant,

17   or an omission of a fact the defendant was obligated to disclose.’” Hodsdon v. Mars, Inc., 891

18   F.3d 857, 861 (9th Cir. 2018) (emphasis in original) (quoting Daugherty v. Am. Honda Motor

19   Co., 51 Cal. Rptr. 3d 118, 126 (Cal Ct. App. 2006)). “[T]he law concerning a defendant’s duty to

20   disclose in a fraudulent omissions case is ‘marked by general disarray.’” Hammerling v. Google

21   LLC, 615 F. Supp. 3d 1069, 1085 (N.D. Cal. 2022) (quoting In re Toyota RAV4 Hybrid Fuel

22   Tank Litig., 534 F. Supp. 3d 1067, 1101 (N.D. Cal. 2021)). “The disarray stems in part from the

23   fact that there are (at least) two different tests to determine whether a defendant has a duty to

24


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 1   disclose.” Id. (citing In re Toyota, 534 F. Supp. 3d at 1102). The Hammerling court explains the

 2   tests as follows:

 3                  Under one approach, a defendant only has a duty to disclose when
                    either (1) the defect at issue relates to an unreasonable safety
 4                  hazard or (2) the defect is material, ‘central to the product's
                    function,’ and the plaintiff alleges one of the four LiMandri
 5                  factors. [In re Toyota, 534 F. Supp. 3d] at 1102. The LiMandri
                    factors are: (1) the defendant is in a fiduciary relationship with the
 6                  plaintiff; (2) the defendant had exclusive knowledge of material
                    facts not known to the plaintiff; (3) the defendant actively conceals
 7                  a material fact from the plaintiff; or (4) the defendant makes partial
                    representations but also suppresses some material facts. LiMandri
 8                  v. Judkins, . . . 60 Cal. Rptr. 2d 539[, 543] ([Cal. Ct. App.] 1997).

 9                  []

10                  Under a separate approach, a defendant has a duty to disclose any
                    time that a plaintiff alleges one of the following: (1) the defect relates
11                  to an unreasonable safety hazard; (2) the defect is material and related
                    to the product's central function; or (3) the presence of one of the four
12                  LiMandri factors. In re Toyota, 534 F. Supp. 3d at 1102.

13   615 F. Supp. 3d at 1085. But see id. (applying first approach because “it appears that the Ninth

14   Circuit adopted this approach in [Hodsdon]” and “post-Hodsdon, the Ninth Circuit and a

15   majority of district courts have applied” that approach).

16          Defendants argue that Plaintiffs do not allege an unreasonable safety hazard, materiality

17   of the alleged defect, relation of the alleged defect to the Stanley cups’ central function, or any of

18   the LiMandri factors. See Dkt. No. 51 at 30–33. In response, Plaintiffs argue that they have

19   sufficiently alleged all the above (except for the first LiMandri factor, which is unaddressed). See

20   Dkt. No. 56 at 25–26; Dkt. No. 48 ¶ 122.

21          For the reasons stated above, the Court finds that Plaintiffs have not sufficiently alleged a

22   fraudulent omission claim under the UCL “fraudulent prong” using either approach, because

23   they do not allege materiality, see supra Section III.A, or an unreasonable safety hazard, see

24   supra Section III.B. However, these deficiencies may be cured by amendment.



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 1                                                        *     *    *

 2              Therefore, as to the Sixth Cause of Action (UCL), Defendant’s motion is GRANTED as to

 3   all theories, with leave to amend.

 4   F.         California Consumer Legal Remedies Act (“CLRA”)

 5              Plaintiffs Krohn, Brown, and Robinson bring a claim under the CLRA on behalf of

 6   themselves and the putative California subclass. See Dkt. No. 48 ¶¶ 127–136 (Seventh Cause of

 7   Action).

 8              The CLRA prohibits “unfair methods of competition and unfair or deceptive acts or

 9   practices undertaken by any person in a transaction intended to result or which results in the sale

10   or lease of goods or services to any consumer.” Cal. Civ. Code § 1770. Like the UCL, the CLRA

11   prohibits fraudulent omissions. See Hammerling, 615 F. Supp. 3d at 1080. “[T]he same standard

12   for fraudulent activity governs” the UCL and the CLRA. 4 In re Plum Baby Food Litig., No. C21-

13   913, 2024 WL 1354447, at *4 (N.D. Cal. Mar. 28, 2024) (citing In re Sony Gaming Networks &

14   Customer Data Sec. Breach Litig., 996 F. Supp. 2d 942, 985 (S.D. Cal. 2014)), appeal filed,

15   No. 24-2766 (9th Cir. May 1, 2024).

16              Defendant rests on the same arguments it made against the UCL fraudulent theory. See

17   Dkt. No. 51 at 33; Dkt. No. 58 at 17. Plaintiffs argue that Defendant violated the CLRA “by

18   failing to disclose that Stanley cups contain lead by design and could expose Plaintiffs to lead

19   toxicity.” Dkt. No. 56 at 24. Plaintiffs further argue that “no matter what test is applied, Plaintiffs

20   satisfy them.” Id. at 25. Applying the same standard that applies to the fraudulent prong of the

21   UCL, and thus for the reasons stated above, see supra Section III.E.3.b, the Court finds that

22   Plaintiffs have not sufficiently alleged a CLRA claim.

23

24   4
         The Parties acknowledge this overlap. Compare Dkt. No. 51 at 33, with Dkt. No. 56 at 24 n.3.



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 1          Therefore, as to the Seventh Cause of Action (CLRA), Defendant’s motion is GRANTED

 2   with leave to amend.

 3   G.     New York Consumer Protection Statutes

 4          Plaintiff Barbu brings claims under two New York statutes for themselves and the New

 5   York subclass: (1) New York Deceptive Acts and Practices Law, N.Y. Gen. Bus. Law § 349

 6   (Dkt. No. 48 ¶¶ 137–151 (Eighth Cause of Action)); and (2) New York False Advertising Law,

 7   N.Y. Gen. Bus. Law § 350 (id. ¶¶ 152–161 (Ninth Cause of Action)).

 8          “GBL § 349 prohibits ‘[d]eceptive acts or practices in the conduct of any business, trade

 9   or commerce.’” Montera v. Premier Nutrition Corp., 111 F.4th 1018, 1028 (9th Cir. 2024)

10   (quoting N.Y. Gen. Bus. Law § 349). “GBL § 350 prohibits ‘[f]alse advertising in the conduct of

11   any business, trade or commerce or in the furnishing of any service.’” Id. (quoting N.Y. Gen.

12   Bus. Law § 350). “Section 350 specifically addresses false advertising but otherwise has the

13   same broad scope and standard for recovery as § 349.” Id. (first citing Karlin v. IVF Am., Inc.,

14   712 N.E.2d 662, 665 (N.Y. 1999); then citing Goshen v. Mut. Life Ins. Co. of New York, 774

15   N.E.2d 1190, 1195 n.1 (N.Y. 2002)). “To succeed on a claim under § 349 or § 350, the plaintiff

16   must show that the defendant ‘engaged in (1) consumer-oriented conduct that is (2) materially

17   misleading and that (3) plaintiff suffered injury as a result of the allegedly deceptive act or

18   practice.’” Id. (quoting Koch v. Acker, Merrall & Condit Co., 967 N.E.2d 675, 675 (N.Y. 2012)).

19          As to deceptive statements, Defendant argues that Plaintiffs do not identify a false

20   statement by Defendant, do not allege that any true statements were misleading, and do not

21   allege that Plaintiffs relied on any statements in making their purchase (such that the statements

22   caused their injury). See Dkt. No. 51 at 34. Defendant argues that the claim also fails under

23   Rule 9(b). See id. As to omissions, Defendant argues that the alleged nondisclosure of lead was

24   not material and that it did not have “exclusive knowledge” of the lead. See id. at 34–35. Finally,


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 1   as to all acts, Defendant argues that Plaintiffs fail to plead injury. See id. at 35. In response,

 2   Plaintiffs argue that whether statements were materially misleading is a question of fact, and that

 3   allegations of “exclusive knowledge” are not required. See Dkt. No. 56 at 27. Plaintiffs also

 4   argue that they have sufficiently plead injury in the form of a price premium. See id. at 27–28.

 5           For the reasons stated above, see supra Sections III.A–D, the Court finds that Plaintiff

 6   Barbu’s New York claims are not sufficiently pleaded. Plaintiff Barbu does not allege that she

 7   was aware of any misleading statements prior to purchase, and Plaintiffs generally do not allege

 8   that the omission was material. However, these deficiencies could be cured by amendment.

 9           Therefore, as to the Eighth and Ninth Causes of Action (New York statutes), Defendant’s

10   motion is GRANTED with leave to amend.

11   H.      Nevada Deceptive Trade Practices Act (“NDTPA”)

12           Plaintiff Franzetti brings a claim under the NDTPA for themselves and the Nevada

13   subclass. See Dkt. No. 48 ¶¶ 162–170 (Tenth Cause of Action).

14           Under the NDTPA, a person engages in a “deceptive trade practice” if, as relevant here,

15   he or she “[k]nowingly makes a false representation as to the source, sponsorship, approval or

16   certification of goods or services for sale or lease,” Nev. Rev. Stat. § 598.0915(2); “[k]nowingly

17   makes a false representation as to the characteristics, ingredients, uses, benefits, alterations or

18   quantities of goods or services for sale or lease,” Nev. Rev. Stat. § 598.0915(5); or “[r]epresents

19   that goods or services for sale or lease are of a particular standard, quality or grade, or that such

20   goods are of a particular style or model, if he or she knows or should know that they are of

21   another standard, quality, grade, style or model,” Nev. Rev. Stat. § 598.0915(7). “To state a

22   claim under the NDTPA, [a plaintiff] must allege ‘(1) an act of consumer fraud by the defendant

23   (2) caused (3) damage to the plaintiff.’” Motogolf.com, LLC v. Top Shelf Golf, LLC, 528 F. Supp.

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 1   3d 1168, 1178 (D. Nev. 2021) (quoting Picus v. Wal-Mart Stores, Inc., 256 F.R.D. 651, 658 (D.

 2   Nev. 2009)).

 3            Defendant argues that the NDTPA claim fails because Plaintiffs do not allege any false or

 4   misleading statements, or awareness or reliance on such statements, and because Plaintiffs do not

 5   satisfy Rule 9(b). See Dkt. No. 51 at 35–36. In response, Plaintiffs argue that this is an omission

 6   claim, not a misrepresentation claim, so causation is established if the omission is material. See

 7   Dkt. No. 56 at 29. Plaintiffs also argue that Rule 9(b) does not apply. See id. at 29–30.

 8            As an initial matter, the Court agrees with Defendant that, as currently alleged, Plaintiff

 9   Franzetti brings a claim under provisions of the NDPTA that deal with affirmative

10   misrepresentations. Plaintiff Franzetti cites and quotes Sections 598.0915(2), (5), and (7) (see

11   Dkt. No. 48 ¶ 163), then alleges that “[Defendant] violated those provisions” through the actions

12   alleged elsewhere in the CAC (id. ¶ 164). 5 Plaintiff Franzetti also refers to representations by

13   Defendant. See id. ¶¶ 165–66.

14            For the reasons stated above, see supra Section III.C, the Court finds that Plaintiff

15   Franzetti’s NDPTA claim fails because Plaintiff Franzetti does not allege awareness of any

16   misrepresentations that would have caused her to purchase a Stanley cup in error. In fact, she

17   makes no allegation whatsoever that she viewed or was otherwise exposed to any representations

18   by Defendant, at any point. See Dkt. No. 48 ¶ 3.

19            Therefore, as to the Tenth Cause of Action (NDTPA), Defendant’s motion is GRANTED

20   with leave to amend.

21

22   5
       The statutory citations in the CAC are further notable for excluding a different provision that appears explicitly
     related to omissions. See Nev. Rev. Stat. § 598.0923(1)(b) (stating that a person engages in a “deceptive trade
23   practice” when he or she “[f]ails to disclose a material fact in connection with the sale or lease of goods or
     services”); Poole v. Nev. Auto Dealerships Invs., LLC, 449 P.3d 479, 482 (Nev. App. 2019) (distinguishing failure-
24   to-disclose claim from misrepresentation claims).



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 1   I.     Unjust Enrichment

 2          Plaintiffs bring a claim for unjust enrichment “under Washington law or the laws of

 3   Plaintiffs’ respective states of residence for members of the respective State Subclasses.” Dkt.

 4   No. 48 ¶ 171; see id. ¶¶ 171–74 (Eleventh Cause of Action).

 5          Unjust enrichment “occurs when one retains money or benefits which in justice and

 6   equity belong to another.” Bailie Commc’ns, Ltd. v. Trend Bus. Sys., Inc., 61 Wn. App. 151, 160,

 7   810 P.2d 12 (1991). This cause of action “is the method of recovery for the value of the benefit

 8   retained absent any contractual relationship because notions of fairness and justice require it.”

 9   Young v. Young, 164 Wn.2d 477, 484, 191 P.3d 1258 (2008) (citing Bailie Commc’ns, 61 Wn.

10   App. at 160). To state a claim for unjust enrichment, Plaintiff must show: “[1] a benefit

11   conferred upon the defendant by the plaintiff; [2] an appreciation or knowledge by the defendant

12   of the benefit; and [3] the acceptance or retention by the defendant of the benefit under such

13   circumstances as to make it inequitable for the defendant to retain the benefit without the

14   payment of its value.” Young, 164 Wn.2d at 484 (quoting Bailie Commc’ns, 61 Wn. App. at 159–60).

15          Defendant argues that the claim fails because Plaintiffs do not allege “appreciation or

16   knowledge of the benefit” or “circumstances” that “make it inequitable” to retain any benefit (as

17   there has been no inequitable conduct in the form of omissions or representations). See Dkt.

18   No. 51 at 36–37. Defendant further argues that Plaintiffs’ unjust enrichment claims under other

19   states’ laws fail for the same reason. See id. at 37. In response, Plaintiffs allege that all elements

20   are sufficiently pleaded. See Dkt. No. 56 at 30–31.

21          For the reasons stated above, see supra Sections III.A–D, the Court finds that Plaintiffs have

22   not sufficiently pleaded a claim for unjust enrichment under Washington law, because Plaintiffs do

23   not allege “circumstances as to make it inequitable” for Defendant to retain any alleged benefit.

24   Moreover, Plaintiffs do not sufficiently allege a claim for unjust enrichment under any other state’s


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 1   law, insofar as Plaintiffs do not explain how those claims are materially distinguishable from those

 2   recognized in Washington. However, these deficiencies may be cured by amendment.

 3           Therefore, as to the Eleventh Cause of Action (unjust enrichment), Defendant’s motion is

 4   GRANTED with leave to amend.

 5   J.      Fraudulent Omission

 6           Finally, Plaintiffs bring a claim for fraudulent omission under Washington law on behalf

 7   of the putative nationwide class. See Dkt. No. 48 ¶¶ 175–84 (Twelfth Cause of Action). “To

 8   establish fraud under Washington law, ‘[t]he plaintiff may affirmatively plead and prove the nine

 9   elements of fraud or may simply show that the defendant breached an affirmative duty to

10   disclose a material fact.’” Zwicker v. Gen. Motors Corp., No. C07-291, 2007 WL 5309204, at *4

11   (W.D. Wash. July 26, 2007) (quoting Crisman v. Crisman, 85 Wn. App. 15, 21, 931 P.2d 163

12   (1997)). “The nine elements of fraud are: (1) representation of an existing fact; (2) materiality;

13   (3) falsity; (4) the speaker’s knowledge of its falsity; (5) intent of the speaker that it should be

14   acted upon by the plaintiff; (6) plaintiff’s ignorance of its falsity; (7) plaintiff’s reliance on the

15   truth of the representation; (8) plaintiff’s right to rely upon it; and (9) damages suffered by the

16   plaintiff.” Stiley v. Block, 130 Wn.2d 486, 505, 925 P.2d 194 (1996). “When a duty to disclose

17   does exist . . . the suppression of a material fact is tantamount to an affirmative misrepresentation.”

18   Wurts v. City of Lakewood, No. C14-5113, 2015 WL 1954663, at *11 (W.D. Wash. Apr. 29,

19   2015) (citing Wash. Mut. Sav. Bank v. Hedreen, 125 Wn.2d 521, 526, 886 P.2d 1121 (1994)).

20           Defendant argues that Plaintiffs do not allege that “the nondisclosure of lead in Stanley

21   cups would be material to a reasonable consumer.” Dkt. No. 51 at 37. Defendant also argues that

22   the claim fails Rule 9(b). See id. at 37–38. In response, Plaintiffs argue that they have pleaded all

23   the elements of fraudulent omission, including materiality, and that they have satisfied Rule

24   9(b)’s relaxed standard for such claims. See Dkt. No. 56 at 31–32.


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 1          For the reasons stated above, see supra Section III.A, the Court finds that Plaintiffs have

 2   not sufficiently pleaded a claim for fraudulent omission because they do not sufficiently allege

 3   the presence of lead in the Stanley cups was a material fact that should have been disclosed.

 4   However, these deficiencies may be cured by amendment.

 5          Therefore, as to the Twelfth Cause of Action (fraud by omission), Defendant’s motion is

 6   GRANTED with leave to amend.

 7                                          IV.     CONCLUSION

 8          Accordingly, it is hereby ORDERED:

 9          (1)     Defendant Pacific Market International, LLC’s Motion to Dismiss (Dkt. No. 51)

10                  is GRANTED.

11                  (a)     The Fourth Cause of Action (breach of implied warranty of

12                          merchantability) is DISMISSED without leave to amend.

13                  (b)     All other causes of action are DISMISSED with leave to amend.

14                  (c)     Should Plaintiffs choose to file an Amended Consolidated Class Action

15                          Complaint, any such amended complaint SHALL be filed within forty-five

16                          (45) days of this Order. Defendant SHALL respond to any amended

17                          complaint within thirty (30) days after its filing.

18          (2)     Defendant’s pending Motion Under Fed. R. Civ. P. 12(f) to Strike the

19                  Complaint’s Nationwide Class Allegations (Dkt. No. 52) is STRICKEN as moot,

20                  with leave to refile as appropriate.

21          Dated this 17th day of January 2025.

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                                                           Tana Lin
                                                           United States District Judge
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